                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:23-CV-00627-FDW-SCR

 JENNIFER GHERA,                                       )
                                                       )
                 Plaintiff,                            )
                                                       )
    v.                                                 )                   ORDER
                                                       )
 WELLS FARGO BANK, N.A.,                               )
                                                       )
                 Defendant.                            )
                                                       )

         THIS MATTER is before the Court sua sponte as to the status of the case. On August 2,

2024, this Court adopted the Memorandum and Recommendation, (Doc. No. 33), recommending

dismissal of Plaintiff’s Complaint as a sanction for civil contempt. (Doc. No. 37). In that Order,

the Court directed Defendant to file supplemental briefing concerning the appropriate monetary

sanction, if any. On August 22, 2024, Defendant filed a response indicating it does not seek

monetary sanctions against Plaintiff, her counsel, or Mr. Michael Pickman. (Doc. No. 38). For that

reason, the Court concludes there are no further matters to be considered in this case and, having

already dismissed Plaintiff’s Complaint, (Doc. No. 37), will close the case.

         IT IS THEREFORE ORDERED that the Clerk of Court is respectfully directed to

CLOSE THE CASE.

         IT IS SO ORDERED.
                                        Signed: September 18, 2024




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